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MANDATE
     21-986
     Local #817 IBT Pension Fund, Local et al. v. XPO Logistics, Inc.

                                 UNITED STATES COURT OF APPEALS
                                     FOR THE SECOND CIRCUIT

                                               SUMMARY ORDER
     RULINGS BY SUMMARY ORDER DO NOT HAVE PRECEDENTIAL EFFECT. CITATION TO A SUM-
     MARY ORDER FILED ON OR AFTER JANUARY 1, 2007, IS PERMITTED AND IS GOVERNED BY FED-
     ERAL RULE OF APPELLATE PROCEDURE 32.1 AND THIS COURT’S LOCAL RULE 32.1.1. WHEN
     CITING A SUMMARY ORDER IN A DOCUMENT FILED WITH THIS COURT, A PARTY MUST CITE
     EITHER THE FEDERAL APPENDIX OR AN ELECTRONIC DATABASE (WITH THE NOTATION
     “SUMMARY ORDER”). A PARTY CITING A SUMMARY ORDER MUST SERVE A COPY OF IT ON
     ANY PARTY NOT REPRESENTED BY COUNSEL.

             At a stated term of the United States Court of Appeals for the Second Circuit, held at the
     Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
     30th day of June, two thousand twenty-two.

     Present:
                 DEBRA ANN LIVINGSTON,
                       Chief Judge,
                 BARRINGTON D. PARKER,
                 BETH ROBINSON,
                       Circuit Judges.
     _____________________________________

     LOCAL #817 IBT PENSION FUND, LOCAL 272 LABOR-
     MANAGEMENT PENSION FUND, LOCAL 282 PENSION
     TRUST FUND AND LOCAL 282 WELFARE TRUST
     FUND,

                               Plaintiffs-Appellants,

     LARRY LABUL, individually and on behalf of all other
     similarly situated, RIVIERA BEACH POLICE PENSION
     FUND, NORFOLK COUNTY RETIREMENT SYSTEM,

                               Plaintiffs,

                      v.                                                21-986

     XPO LOGISTICS, INC., BRADLEY S. JACOBS,

                               Defendants-Appellees,

     JOHN J. HARDIG, SCOTT B. MALAT,


                                                             1
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                  Defendants. *
_____________________________________

For Plaintiffs-Appellants:                      JOSEPH DALEY (Spencer A. Burkholz & Jason C. Davis,
                                                on the brief), Robbins Geller Rudman & Dowd LLP,
                                                San Diego & San Francisco, CA.


For Defendants-Appellees:                       JULIA TARVER WOOD (Martin Flumenbaum & Daniel S.
                                                Sinnreich, on the brief), Paul, Weiss, Rifkind, Wharton
                                                & Garrison LLP, New York, NY.

                                                James I. Glasser, on the brief, Wiggin and Dana LLP,
                                                New Haven, CT.

        Appeal from a judgment of the United States District Court for the District of Connecticut

(Underhill, J.).

        UPON DUE CONSIDERATION, IT IS HEREBY ORDERED, ADJUDGED, AND

DECREED that the judgment of the district court is AFFIRMED.

        Plaintiffs-Appellants Local #817 IBT Pension Fund et al. (“Plaintiffs”) appeal from a judg-

ment of the United States District Court for the District of Connecticut dismissing their first

amended consolidated class action complaint (“Complaint”) alleging violations of sections 10(b)

(“Section 10(b)”) and 20(a) (“Section 20a”) of the Securities Exchange Act of 1934, 15 U.S.C.

§§ 78j(b) and 78t(a), and SEC Rule 10b-5 (“Rule 10b-5”), 17 C.F.R. § 240.10b-5, against Defend-

ants-Appellees XPO Logistics, Inc. (“XPO”) and XPO CEO Bradley S. Jacobs (“Jacobs,” and

together with XPO, “Defendants”). 1         See Labul v. XPO Logistics, 2021 WL 1056828 (D. Conn.




        *
            The Clerk of Court is respectfully directed to amend the caption as set forth above.
        1
          John J. Hardig and Scott B. Malat were named as defendants in the district court, but they are not
appellees here.


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Mar. 19, 2021). 2      XPO is a publicly traded transportation and logistics company.           Joint App’x

83.     Plaintiffs allege that Amazon.com, Inc. (“Amazon”) was XPO’s largest customer.                 Id. at

84. 3    In February 2018, the day before XPO was due to release its 2017 SEC annual report (“2017

10-K”), the Wall Street Journal reported that Amazon planned to announce the launch of an in-

house delivery service. Id. at 83–84, 90–91. A year later, XPO announced that Amazon had

“pulled back” on its business with XPO. Id. at 131.           Plaintiffs assert that Amazon, XPO’s larg-

est customer, started to sever ties with XPO around March 2018 and that, in the year between the

Journal article and the XPO announcement, Defendants concealed this pullback and its impact on

XPO through various “misstatements and omissions relating to Amazon’s outsized effect upon

XPO’s growth and revenues.”         See Appellants’ Br. 27–28 (cataloging statements which Plaintiffs

argue are false or misleading on appeal). In a thorough opinion, Judge Underhill dismissed the

complaint for failure to plausibly allege a misrepresentation or omission, scienter, materiality, or

loss causation.      See Labul, 2021 WL 1056828, at *6–23.

         “We review the district court’s grant of a motion to dismiss de novo.”         IBEW Local Union

No. 58 Pension Tr. Fund & Annuity Fund v. Royal Bank of Scot. Grp., 783 F.3d 383, 389 (2d Cir.

2015).       To state a claim for a violation of Section 10(b) and Rule 10b-5, a plaintiff must allege:

“(1) a material misrepresentation or omission by the defendant; (2) scienter; (3) a connection be-

tween the misrepresentation or omission and the purchase or sale of a security; (4) reliance upon


         2
          Unless otherwise indicated, we omit all citations, quotation marks, alterations, emphases, and
footnotes from citations.
         3
             We draw the facts from the Complaint, “assuming [that] all well-pleaded, nonconclusory factual
allegations in the complaint [are] true.” Kiobel v. Royal Dutch Petroleum Co., 621 F.3d 111, 124 (2d Cir.
2010). On a motion to dismiss, we “evince no views concerning whether the[se] ‘facts’ . . . are actually
true. Our task is limited to determining whether, if [the plaintiff’s] allegations were true, they would state
a . . . claim.” Menaker v. Hofstra Univ., 935 F.3d 20, 26 n.1 (2d Cir. 2019).


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the misrepresentation or omission; (5) economic loss; and (6) loss causation.”       Amgen Inc. v.

Conn. Ret. Plan & Tr. Funds, 568 U.S. 455, 460–61 (2013).         Assuming the parties’ familiarity

with the underlying facts, the procedural history of the case, and the issues on appeal, we chiefly

address the first of these elements in explaining our decision to affirm.

  I.   False or Misleading Statement or Omission

       Under Federal Rule of Civil Procedure 9(b) and the Private Securities Litigation Reform

Act of 1995, a plaintiff must “stat[e] with particularity the circumstances constituting fraud,” in-

cluding by “specify[ing] each statement alleged to have been misleading, and the reason or reasons

why the statement is misleading.” ECA, Local 134 IBEW Joint Pension Tr. of Chi. v. JP Morgan

Chase, Co., 553 F.3d 187, 196 (2d Cir. 2009); see 15 U.S.C. § 78u-4(b)(1)(B). For omissions,

the plaintiff must specifically identify “the omitted facts that are necessary in order to make the

statements made, in light of the circumstances in which they were made, not misleading.”     Klein-

man v. Elan Corp. plc, 706 F.3d 145, 152 (2d Cir. 2013).        In conducting this inquiry, we ask

whether the statements and omissions “taken together and in context, would have misled a reason-

able investor.”   In re Morgan Stanley Info. Fund Sec. Litig., 592 F.3d 347, 360 (2d Cir. 2010).

           A. Statements and Omissions Concerning Amazon’s Contributions to XPO’s
              Growth

       Plaintiffs first contend that they plausibly alleged that Defendants’ May 2018 statements

that “revenue growth” in the first quarter of 2018 “reflected a healthy diversification of customer

verticals and service lines” and that “growth was broad-based across our operations” were false or

misleading. Joint App’x 98–99.       We disagree.    The Complaint fails to allege facts suggesting

that these statements were inaccurate; it instead alleges that the revenue that Amazon contributed

to XPO in 2017 “accounted for approximately 52% of its revenue growth for the year, with ap-

proximately 50,000 customers accounting for the other 48%.”         Id. at 94; see also Labul, 2021


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WL 1056828, at *8.       Plaintiffs object that even if these statements are literally true, a reasonable

investor would have understood that Amazon’s business was not as important to XPO as, in fact,

it was.    But we are unpersuaded that a reasonable investor would have believed anything about

XPO’s relationship with Amazon based on these statements alone—which do not even mention

Amazon.

          Taking another tack, Plaintiffs also contend that having chosen to address the topics of

“diversification” and “broad-based” growth, Joint App’x 98–99, Defendants failed “to tell the

whole truth” by failing to disclose more information about XPO’s relationship with Amazon, In

re Vivendi, S.A. Sec. Litig., 838 F.3d 223, 258 (2d Cir. 2016). We disagree.           At least without

more allegations tending to show the particular importance of Amazon to XPO’s success, XPO

did not undertake a duty to disclose anything about its relationship with Amazon by making gen-

eral (and, Plaintiffs seem to concede, truthful) statements about the “diversity” of its customers or

the “broad-based growth” of its business.      Indeed, we agree with the district court that these state-

ments are “too general to cause a reasonable investor to rely upon them.”             Labul, 2021 WL

1056828, at *8; see In re Synchrony Fin. Sec. Litig., 988 F.3d 157, 170 (2d Cir. 2021).

          Plaintiffs next argue that XPO’s statement in its 2017 10-K that its revenue increase “was

primarily driven by growth in our European contract logistics business, improvement in LTL

weight per day, and growth in North American truck brokerage and Last Mile operations” was

false or misleading because this statement concealed the degree to which Amazon drove this rev-

enue growth.      Joint App’x 93.    We again agree with the district court that the Complaint lacks

sufficient factual allegations to show that this statement misrepresented Amazon’s contribution to

XPO’s growth.       As the district court noted, the statement would not plausibly have misled a rea-

sonable investor “principally because, as the complaint acknowledges, Amazon was a customer of


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the three business lines mentioned in the statement: LTL, Last Mile, and Brokerage.”         Labul,

2021 WL 1056828, at *8.

           B. Statements that Allegedly Concealed that Amazon Started to Sever Ties With
              XPO Around March 2018

       Plaintiffs also rely on a series of statements that they argue concealed the fact that Amazon

had begun to sever ties with XPO.     They point first to XPO’s claim in its 2018 quarterly SEC

Form 10-Qs (“10-Qs”) that “[t]here are no material changes to the risk factors previously dis-

closed” in its 2017 10-K.   Joint App’x 100, 112.   Plaintiffs contend that Amazon’s decelerating

business represented a materially adverse change to XPO’s previously disclosed risk factors.    But

XPO reported in its SEC Form 10-K that its profitability could decline if “current or prospective

customers . . . decide to develop or expand internal capabilities for some of the services that we

provide.” Id. at 201. And the Complaint lacks specific allegations to show how this disclo-

sure—of precisely the risk that allegedly materialized when Amazon began to pull back on its

business—was deficient.

       Plaintiffs next contend that XPO’s statement in its August 2018 10-Q that it had “capital-

ize[d]” on the “trend” of “[m]any customers, particularly large companies” moving to “large, sin-

gle-source relationships . . . to handle their supply chain requirements” and on a similar “trend

toward outsourcing in transportation and logistics” was false or misleading.      Id. at 112.   We

disagree. As the district court concluded,

       the complaint pleads no facts demonstrating how XPO had not capitalized on those
       trends, or that “many customers” were not moving in those directions. That Am-
       azon might have been moving in a different direction does not render the statement
       misleading, even if Amazon was XPO’s largest customer. The statement that
       XPO had been “built to capitalize” on such a trend, further, is more akin to non-
       actionable puffery.

Labul, 2021 WL 1056828, at *18.



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        Plaintiffs also assert that Jacobs’s statement, made in response to a question about figures

showing a decline in the tonnage XPO shipped, that XPO was focused not on overall tonnage

figures but on selecting the “right”—that is, the most profitable—“tonnage” was misleading be-

cause the lighter tonnage figures actually reflected Amazon’s decelerating business.             Joint App’x

110–11.     But the district court properly rejected that argument because Plaintiffs failed to plausi-

bly allege “that the lower tonnage numbers were not a product of XPO’s strategic decision-mak-

ing.”   Labul, 2021 WL 1056828, at *18.            In fact, “XPO’s LTL business reported a 21.5% in-

crease in profit from 2017 to 2018 when tonnage weight allegedly declined.”                 Id. (citing XPO

Form 8-K (Feb. 14, 2019), at 17); see also Joint App’x 251. 4            That fact suggests that XPO was

indeed targeting a more profitable tonnage mix. And for that reason, Plaintiffs have not plausibly

pleaded that Jacobs’s assertion that XPO was targeting the “right tonnage” was false or misleading.

        Plaintiffs next argue that Jacobs’s August 2018 statement that “nothing’s slowed down at

all in terms of [XPO’s revenue] guidance” was misleading because Amazon’s ongoing decelera-

tion of its business with XPO had materially altered XPO’s financial outlook.             Joint App’x 111. 5

But Jacobs made the challenged statement in response to a line of questions about XPO’s LTL



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           This information is drawn from a press release, dated February 14, 2019, issued by XPO and
included as an exhibit in XPO’s Form 8-K report, which XPO submitted to the SEC on February 14, 2019.
Joint App’x 235–59. XPO filed the Form 8-K report and press release in support of its motion to dismiss.
Id. at 143. Because Plaintiffs referred to these materials in the Complaint, see id. at 86, 106, 131, and filed
them with the SEC, the district court properly considered them on XPO’s motion to dismiss. See, e.g.,
ATSI Commc’ns, Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 98 (2d Cir. 2007) (explaining that when “re-
view[ing] a district court’s dismissal of a complaint pursuant to [Rule 12(b)(6)] . . . we may consider any
written instrument attached to the complaint, statements or documents incorporated into the complaint by
reference, legally required public disclosure documents filed with the SEC, and documents possessed by or
known to the plaintiff and upon which it relied in bringing the suit”).
        5
          Jacobs said that XPO had been projecting “high single digits, low-double digits” for revenue
growth for “the last few months” and that XPO was not revising its guidance. Id.


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tonnage, which the analyst described as “a little bit on the light side.” See id. at 376–77.        As

noted above, Plaintiffs have failed to plausibly allege that the lighter tonnage was not the result of

XPO’s strategic choice to target more profitable tonnage.     So they have similarly failed to allege

that Jacobs’s statement that XPO would not be revising its revenue guidance in response to a small

decrease in tonnage weight was false or misleading.

       Plaintiffs finally contend that after XPO missed earnings targets in Fall 2018, Jacobs’s

statement to investors that the miss was “nothing” and that it was caused by the bankruptcy of a

smaller customer, House of Fraser, was misleading because the miss was in fact due to several

Amazon-focused fulfillment centers winding down in 2018. Id. at 85, 121–22.           But Jacobs spe-

cifically attributed the House of Fraser bankruptcy to the miss in EBIDTA.          Id. at 122.   And

Plaintiffs’ Complaint contained an excerpt from an October 2018 analyst report stating that the

House of Fraser bankruptcy “hurt [XPO’s] results” and projecting that “adding” the House of Fra-

ser “back in,” XPO would have “narrowly beat” its EBIDTA projections. Id. at 121; see also

Labul, 2021 WL 1056828, at *18.

       Plaintiffs counter that the House of Fraser bankruptcy was not the “sole reason” for XPO

“missing 3Q18 guidance” because “[i]t is reasonable to infer that the wind down of [] three Ama-

zon facilities . . . had a larger financial impact on XPO than the wind down of the two House of

Fraser fulfillment centers.”   Joint App’x 124.    Plaintiffs allege that the three facilities that XPO

ran for Amazon collectively comprised over 2.3 million square feet in size, and that the Texas

fulfillment center that announced mass layoffs in August 2018 alone was more than four times the

combined size of the House of Fraser fulfillment centers. Id.        But as the district court recog-

nized, “[t]he complaint . . . sets forth no factual allegations to support how warehouse square foot-

age is indicative of overall financial performance, or how the winding down of those facilities


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impacted XPO’s EBITDA in the third quarter of 2018.”         Labul, 2021 WL 1056828, at *18.       For

these reasons, Plaintiffs have again failed to plausibly allege that this statement was false or mis-

leading.

 II.   Item 303

       Last, Plaintiffs argue that Defendants violated Item 303 of SEC Regulation S-K by failing

to “‘[d]escribe a[] known [Amazon-related] trend[] or uncertaint[y] . . . that [XPO] reasonably ex-

pect[ed] w[ould] have a material unfavorable impact on revenues or income from continuing op-

erations.”    Stratte-McClure v. Morgan Stanley, 776 F.3d 94, 101 (2d Cir. 2015) (quoting 17

C.F.R. § 229.303(a)(3)(ii)).    Because Plaintiffs have failed to adequately plead scienter as to the

Item 303 violation, we need not decide whether they have adequately alleged any “known trends

or uncertainties” that gave rise to a “duty to disclose.”   Id.

       To plead scienter for an Item 303 claim, we have held that the plaintiff’s allegations must

“support the inference that [the defendant] acted with at least a reckless disregard of a known or

obvious duty to disclose.”     Ind. Pub. Ret. Sys. v. SAIC, Inc., 818 F.3d 85, 96 (2d Cir. 2016), cert.

granted sub nom. Leidos, Inc. v. Ind. Pub. Ret. Sys., 137 S. Ct. 1395 (2017) and cert. dismissed

138 S. Ct. 2670 (2018). Plaintiffs do not argue that Defendants had actual knowledge of a duty

to disclose Amazon-related information.        The issue is therefore whether, accepting Plaintiffs’

well-pleaded factual allegations as true, those facts give rise to a strong inference that Defendants

were subject to a duty to disclose so obvious that the failure to disclose was a “highly unreasona-

ble” and “extreme departure from the standards of ordinary care.”         Advanced Battery Techs. v.

Bagell, 781 F.3d 638, 644 (2d Cir. 2015).

       Plaintiffs have not alleged facts to satisfy this standard.    We are not persuaded that any

duty to disclose was so obvious that Defendants’ failure to disclose any Amazon-related trend or



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uncertainty was “highly unreasonable” or an “extreme departure from the standards of ordinary

care.” Id. (emphasis added). The most compelling inference based on Plaintiffs’ alleged facts

is that Defendants were “at worst negligent” in failing to disclose any such trend or uncertainty.

Stratte-McClure, 776 F.3d at 107. 6       So we also affirm the district court’s dismissal of the Item

303 claim.

                                             *       *        *

        We have considered Plaintiffs’ remaining arguments and conclude that they lack merit.

We therefore AFFIRM the judgment of the district court.

                                                          FOR THE COURT:
                                                          Catherine O’Hagan Wolfe, Clerk of Court




        6
           Given our conclusions as to falsity (and scienter as to the Item 303 claim), we need not address
whether Plaintiffs have plausibly alleged that Defendants’ alleged misstatements were material or whether
Plaintiffs pleaded loss causation. We also affirm the district court’s dismissal of Plaintiffs’ Section 20(a)
claim for failure to plead a primary violation. See Labul, 2021 WL 1056828, at *23 (citing In re Lehman
Bros. Mortg.-Backed Sec. Litig., 650 F.3d 167, 185 (2d Cir. 2011)).


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